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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ex rel.,
STEPHEN A. KRAHLING and JOAN A. : Civil Action No. 2:10-ev-04374 (CDJ)
WLOCHOWSKI,

Plaintiffs,
v.

MERCK & CO., INC.
Defendant.

IN RE: MERCK MUMPS VACCINE ;
ANTITRUST LITIGATION : Master File No, 2:12-cv-03555 (CDJ)

THIS DOCUMENT RELATES TO:
ALL ACTIONS

PLAINTIFFS’ MOTION REQUESTING PERMISSION TO FILE UNDER SEAL
PLAINTIFFS' REPLY IN SUPPORT OF THEIR MOTION TO STRIKE MERCK
EXPERT- WITNESSES NORMAN BAYLOR AND PETER PATRIARCA AND
OPPOSITION TO CROSS-MOTION FOR AN ORDER UNDER 18 U.S.C. § 207 (j)(6)(A)

Relators and private antitrust plaintiffs (collectively, “Plaintiffs”) respectfully seck the
Court’s permission to file under seal Plaintiffs’ Reply in Support of Their Motion to Strike Merck
Expert Witnesses Norman Baylor and Peter Patriarca and Opposition to Cross-Motion for an order
under 18 U.S.C. § 207 G)(6)(A). The Protective Order governing these cases (Dkt. No. 84) protects
the confidentiality of “Protected Material” so designated by the parties and permits the filing of
litigation materials containing Protected Material “under seal pursuant to the Local Rules of Civil
Procedure for the Eastern District of Pennsylvania until such time as the Court orders otherwise or

denies permission to file under seal.” (/d. at § 10). Plaintiffs’ combined Reply/Opposition cites to
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numerous materials designated as “Confidential” or “Highly Confidential — Attorneys’ Eyes Only”
under the Protective Order. Accordingly, Plaintiffs respectfully request permission to file the

Reply/Opposition and accompanying papers under seal.

Dated: January 4, 2019 Respectfully submitted,

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By: // ttt ;

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